                    Case 1:25-cv-03803-JLR              Document 4        Filed 05/08/25         Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District
                                                __________  DistrictofofNew York
                                                                         __________


IRIS JIMENEZ,                                                    )
                                                                 )
                             Plaintiff
                                                                 )
                                v.                               )      Civil Action No. 1:25-cv-03803
                                                                 )
BENTLEY REALTY COMPANY OF N.Y., INC. AND
ACROPOLIS SHOES, INC.,                                           )
                            Defendant
                                                                 )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT

               5/8/2025                                                           s/ G. Pisarczyk
Date:
                                                                                      Signature of Clerk or Deputy Clerk
        Case 1:25-cv-03803-JLR        Document 4      Filed 05/08/25     Page 2 of 2




                                   RIDER TO SUMMONS
The following are the names and service addresses of the defendants for the Summons.
                   BENTLEY REALTY COMPANY OF N.Y., INC.
                   571 W 183RD ST
                   NEW YORK, NY, UNITED STATES, 10033




                   ACROPOLIS SHOES, INC.
                   1441 ST. NICHOLAS AVENUE
                   NEW YORK, NY, UNITED STATES, 10033
